Case:18-10965-TBM Doc#:113 Filed:07/11/18              Entered:07/11/18 14:28:59 Page1 of 29



                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF COLORADO

 In re:                                      )
                                             )
 11380 SMITH RD LLC                          )       Case No. 18-10965 TBM
 EIN XX-XXXXXXX                              )       Chapter 11
                                             )
 Debtor.                                     )


                             AMENDED DISCLOSURE STATEMENT


                                       I. INTRODUCTION

 Dated: July 11, 2018

            On February 13, 2018, 11380 Smith Rd LLC (“Debtor”), filed its voluntary petition

 for reorganization pursuant to Chapter 11 of the Bankruptcy Code. On July 11, 2018, the

 Debtor filed its Amended Plan of Reorganization (the “Plan”).

 A. REORGANIZATION AND DISCLOSURE. Chapter 11 is the principal reorganizational

 Chapter of the Bankruptcy Code. Pursuant to Chapter 11, the Debtor may reorganize its

 business and/or financial affairs while continuing to operate its business, retain possession

 of its property, or liquidate some or all of its assets to pay its creditors. Attempts to collect

 pre-petition claims from the Debtor and any attempts to foreclose upon the Debtor’s

 property are stayed during the pendency of the bankruptcy proceeding. This Amended

 Disclosure Statement (“Disclosure Statement”) is intended to provide the holders of claims

 adequate information about the Debtor and its proposed Plan so that creditors can make

 an informed judgment about the merits of approving the Plan. The Plan, if confirmed by

 the Bankruptcy Court, will bind the Debtor and the creditors with respect to the terms and

 conditions set forth therein even if creditors do not vote in favor of the Plan.

 11380 Smith Rd amended ds
Case:18-10965-TBM Doc#:113 Filed:07/11/18              Entered:07/11/18 14:28:59 Page2 of 29



 B.         Adequate information. “Adequate information” means information of a kind, and in

 sufficient detail, as far as is reasonably practicable in light of the nature and history of the

 Debtor and the condition of the Debtor’s books and records, including a discussion of the

 potential material Federal tax consequences of the Plan to the Debtor, any successor to

 the Debtor, and a hypothetical investor typical of the holders of claims or interests in the

 case, that would enable such a hypothetical investor of the relevant class to make an

 informed judgment about the Plan, but adequate information need not include such

 information about any other possible or proposed Plan. In determining whether the Plan

 provides adequate information, the Court considers the complexity of the case, the benefit

 of additional information to creditors and other parties in interest and the cost of providing

 additional information.

            An “investor typical of holders of claims or interests of the relevant class” means

 investors having a claim or interest of the relevant class; such a relationship with the Debtor

 as the holders of other claims or interests of such class generally have; and, such ability

 to obtain such information from sources other than the disclosure required by §1125 of the

 Bankruptcy Code (11 U.S.C. §1125) as holders of claims or interests in such class

 generally have.

 C.         YOU ARE ENCOURAGED TO READ THE PLAN AND TO CONSULT WITH YOUR

 COUNSEL ABOUT IT. CERTAIN CAPITALIZED TERMS USED HEREIN ARE DEFINED

 IN THE PLAN OR IN THE BANKRUPTCY CODE. THE PLAN HAS NEITHER BEEN

 APPROVED NOR DISAPPROVED BY                         THE SECURITIES AND EXCHANGE

 COMMISSION, AND THE COMMISSION HAS NOT RENDERED AN OPINION UPON

 THE ACCURACY OR ADEQUACY OF ANY STATEMENTS CONTAINED IN THE PLAN.

 11380 Smith Rd amended ds                       2
Case:18-10965-TBM Doc#:113 Filed:07/11/18           Entered:07/11/18 14:28:59 Page3 of 29



 APPROVAL OF THE DISCLOSURE STATEMENT BY THE COURT AS CONTAINING

 ADEQUATE INFORMATION DOES NOT IMPLY COURT APPROVAL OF THE PLAN. IN

 THE EVENT THE DEBTOR MODIFIES ITS PLAN BEFORE CONFIRMATION, THE PLAN

 AS MODIFIED SHALL BECOME THE PLAN FOR PURPOSES OF CONFIRMATION. AS

 SUCH, PREVIOUS VERSIONS OF THE PLAN SHOULD BE DISREGARDED BY

 CREDITORS.

 D. VOTING ON THE PLAN. The Debtor is proposing a Plan as a means of reorganizing

 its financial affairs and paying its creditors. A vote on the Plan is important. The Debtor

 can implement the Plan only if it is confirmed by the Bankruptcy Court. The Plan can be

 confirmed only if, among other things, it is accepted by the holders of two-thirds in amount

 and more than one-half in number of the claims which actually vote on the Plan. At least

 one “impaired class” must vote to accept the Plan. In the event the requisite acceptances

 are not obtained from the impaired classes, the Court may nevertheless confirm the Plan

 if the Court finds that it is fair and equitable to the class or classes rejecting the Plan.

 Under the Debtor’s proposed Plan, Classes 1, 2 and 3 are impaired and therefore are

 entitled to vote on the Plan. Class 4 is not impaired and therefore cannot vote on the Plan.

            “Impaired” is defined by §1124 of the Bankruptcy Code. Impaired means that

 Debtor’s Plan alters the legal, equitable or contractual rights to which such classes or

 interest entitles the holder of such claims or interest. The holders of impaired claims which

 are also allowed claims (as defined in Article I, ¶ 1.3 of the Plan), or the holders in those

 classes of disputed claims which the Bankruptcy Court has temporarily allowed for voting

 purposes only are entitled to vote on the Debtor’s Plan.



 11380 Smith Rd amended ds                    3
Case:18-10965-TBM Doc#:113 Filed:07/11/18                Entered:07/11/18 14:28:59 Page4 of 29



            You are not required to vote on the Plan, but only those votes actually received by

 Debtor’s counsel on or before 5:00 p.m. MST/MDT on the date set forth in the Court’s

 Order or Notice accompanying this Plan will be counted either for or against the Plan. You

 should either fax, mail or e-mail a completed ballot to the Debtor’s counsel by 5:00 p.m.

 MST/MDT on the date established by the Court in its Order or Notice which accompanies

 this Plan. Please fill out your ballot completely to insure that your vote with respect to the

 Plan is properly counted. Ballots can be mailed, faxed or e-mailed to the Debtor’s counsel

 at the following address, fax number, or e-mail address:

                        Weinman & Associates, P.C.
                        730 17th Street, Suite 240
                        Denver, CO 80202-3506
                        Facsimile: (303) 572-1011
                        jweinman@epitrustee.com

            Ballots will be counted as long as they are received by the Debtor’s counsel by 5:00

 p.m. MST/MDT on the date established by the Court in its Order or Notice accompanying

 this Plan.

            The Court will hold a hearing on confirmation of the Plan and will, among other

 things, determine the result of the vote on the Plan. The Debtor will prepare a ballot report

 which it will present to the Court at the confirmation hearing. The date and time of the

 Court’s hearing on confirmation and important deadlines are set forth in the Court’s Order

 or Notice enclosed with this Disclosure Statement and the Plan.

 E.         Objecting to the adequacy of the information contained in the Disclosure Statement

 or to confirmation of the Plan. The Court will set a deadline for filing written objections to

 the adequacy of the information contained in the Disclosure Statement. If no objections are

 filed with the Court, the approval of the information contained in the Disclosure Statement

 11380 Smith Rd amended ds                           4
Case:18-10965-TBM Doc#:113 Filed:07/11/18              Entered:07/11/18 14:28:59 Page5 of 29



 may become final. Any objection or request to modify the information contained in the

 Disclosure Statement will be considered by the Court at the hearing set by the Court on the

 adequacy of the Disclosure Statement.

            In addition to voting on the Plan, creditors may also object to confirmation of the

 Plan by filing and serving written objections to confirmation of the Plan as required by the

 Bankruptcy Rules of Procedure. The Court has set a deadline for filing written objections

 in its Order or Notice which accompanies this Disclosure Statement and proposed Plan.

 If you wish to object to confirmation of the Debtor’s Plan, you must file a written objection.

 Filing a ballot rejecting the Plan will not be considered an objection to confirmation of the

 Plan by the Court.

 F.         Bar Date. The Court will set a deadline (“Bar Date”) by which creditors are to file

 Proofs of Claim in the Debtor’s Chapter 11 bankruptcy proceeding. The Bar Date will be

 set forth in the Court’s Order and Notice which will be mailed to you during the pendency

 of the Debtor’s Chapter 11 bankruptcy proceeding. If you desire to file a Proof of Claim,

 it is important that you file a Proof of Claim with the Clerk of the Bankruptcy Court on or

 before the Bar Date or your claim may not be allowed and you may not be able to

 participate as a creditor in the Debtor’s Chapter 11 bankruptcy proceeding. If you agree

 with the way the Debtor has listed your claim on its bankruptcy Schedules, and your claim

 is not listed as “disputed”, “contingent”, or “unliquidated”, it is not necessary for you to file

 a Proof of Claim in order to have your claim allowed for purposes of voting on the Plan and

 receiving payment or other treatment of your claim under a confirmed Plan of

 Reorganization.



 11380 Smith Rd amended ds                       5
Case:18-10965-TBM Doc#:113 Filed:07/11/18              Entered:07/11/18 14:28:59 Page6 of 29



                             II. PRE-BANKRUPTCY HISTORY OF THE DEBTOR

            Debtor purchased the Smith Rd. property in January 2014 for a purchase price of

 $1.8 million. The purchase price included the acquisition of another building known as the

 Moline building. Moline was contaminated and required remediation.

            After remediation, Moline was sold in 2016 for $3.9 million. The proceeds were used

 to pay debt and residual funds were advanced to Hi-Tec Plastics, Inc. and Hi-Tec

 Recycling, Inc.(hereafter collectively “Hi-Tec”) to support faltering businesses owned by

 Louis Hard, the owner of Debtor. Mr. Hard had stepped away from these businesses

 around 2014 and his general manager ran them into the ground through mismanagement.

 Consequently, what had for 30 years been very successful businesses, were on the

 precipice of failure. Indeed, because of the long history of profitability of the businesses,

 Mr. Hard was comfortable pouring millions of dollars of additional capital into them in the

 hope of returning them to profitability.

            Indeed, since some of the capital investment in Hi-Tec came from Debtor, these

 outstanding loans remain on Debtor’s balance sheet in an amount approaching $5 million.

 They are, unfortunately, uncollectible.

            After the Moline building was sold, Smith Rd. remained Debtor’s primary asset in

 addition to an insurance claim and some miscellaneous accounts receivable stemming from

 a tenant of Moline and Hi-Tec. Hi-Tec paid rent until mid 2017 when it became unable to

 do so. Indeed, in late 2017, the Hi-Tec Plastics business was sold and substantially all of

 its assets which were not included in the sale, were liquidated separately. All sale proceeds

 went to bank and trade debt. Some amounts still due under the sale are subject to the


 11380 Smith Rd amended ds                       6
Case:18-10965-TBM Doc#:113 Filed:07/11/18                Entered:07/11/18 14:28:59 Page7 of 29



 security interest of Hi-Tec’s lender. Accordingly, pursuit of Hi-Tec’s lease default would be

 as futile as pursuing it on the loans it owes to Debtor. Moreover, given the value of the

 Smith Rd building, it is unnecessary to chase Hi-Tec even were it not judgement proof, as

 creditors will be paid in full from a sale or refinance of the building.

            Debtor considered selling its property pre-petition although it had not been listed for

 sale. It received an unsolicited offer for $5.5 million but could neither close the sale in time

 to avoid the pending foreclosure on its property commenced by 11380 East Smith Rd

 Investments, LLC, nor did it believe the value of the property to be less than $6.2 -7.0

 million. In fact, Debtor believes that the property is worth at least the $6.5 million and has

 sought to employ CBRE Richard Ellis to sell the property for that price. CBRE’s broker, Bill

 Thompson, supports this valuation.

            Debtor’s plan is quite simple: list and sell or refinance the Smith Road Real Property,

 pursue its legal claims, and pay all creditors in full from the proceeds.

  III. EXPECTED POST-CONFIRMATION OPERATION OF REORGANIZED DEBTOR

            The Debtor will remain in possession of its Assets and will administer its confirmed

 Chapter 11 Plan to repay creditors pursuant to the terms of the Plan. The Debtor will sell

 its Real Property to pay allowed creditor claims and administrative expenses. Louis Hard

 will be appointed to implement the terms of the Plan following confirmation. He will not be

 paid for his services.

    IV. DESCRIPTION OF DEBTOR’S REAL AND PERSONAL PROPERTY ASSETS

            As of the date of the filing of the bankruptcy petition, the Debtor’s assets consist of

 real and personal property assets.


 11380 Smith Rd amended ds                         7
Case:18-10965-TBM Doc#:113 Filed:07/11/18               Entered:07/11/18 14:28:59 Page8 of 29



            The Debtor’s Real Property consists of its ownership interest in real property located

 at 11380 East Smith Road, Aurora, CO 80010. The Debtor estimates the value of the Real

 Property at $6,500,000 and has listed it for sale with CBRE real estate brokers at that price.

 Personal property includes: accounts receivable (listed at $135,752.22); and legal claims

 against Owners Insurance Company (value of legal claims is uncertain at this time).

   V. STATUS DURING CHAPTER 11 BANKRUPTCY PROCEEDING PENDING PRE-
      PETITION AND POST-PETITION LITIGATION AND PREFERENCE AND/OR
                    FRAUDULENT CONVEYANCE CLAIMS


 A.         STATUS DURING CHAPTER 11. The Debtor has been managing its financial

 affairs and operating its business under Chapter 11 as Debtor-in-Possession since it filed

 for bankruptcy relief.

            The Debtor, through its representative, attended an Initial Debtor Interview (IDI)

 conducted by the Office of the U.S. Trustee, attended a §341 Meeting of Creditors, and

 attended a status and scheduling conference conducted by the Bankruptcy Court.

            The U.S. Trustee has not appointed a creditors’ committee in this Chapter 11

 bankruptcy proceeding.

 B.         PRE-PETITION LITIGATION. Prior to the Debtor filing its bankruptcy petition, the

 Debtor was involved in pre-petition federal court litigation in the United States District Court

 for the District of Colorado, identified as Owners Insurance Company, Plaintiff and

 Counterclaim Defendant v. 11380 East Smith Road, LLC and 355 Moline, LLC, Defendants

 and Counterclaim Plaintiffs, Case No. 2017-CV-00346. The Bankruptcy Court has granted

 the Debtor relief from the automatic stay to allow this matter to proceed in federal district

 court in Colorado. Secured Creditor 11380 East Smith Rd Investments, LLC commenced


 11380 Smith Rd amended ds                        8
Case:18-10965-TBM Doc#:113 Filed:07/11/18                     Entered:07/11/18 14:28:59 Page9 of 29



 a foreclosure proceeding which has been stayed by the Debtor filing its Chapter 11

 proceeding.

 C.         POST-PETITION. Since the filing of its bankruptcy petition, the Debtor has been

 involved in the following litigation, contested and non-contested matters and hearings

 before the Bankruptcy Court:

            1.          The Debtor, through its representative, attended a Court ordered status and

                        scheduling conference as well as a Section 341 Meeting of Creditors.

            2.          The Debtor has obtained authority to employ the law firm of Brown Dunning

                        Walker, PC to represent it as special counsel in its Chapter 11 proceeding.

            3.          The Debtor sought authority to employ CBRE, Inc. as real estate brokers to

                        sell its Real Property. 11380 East Smith Rd Investments, LLC objected to its

                        employment but the Court ultimately approved such employment.

            4.          The Debtor has obtained authority to employ Merlin Law Group, P.A. to

                        represent it in the U.S. District Court for the District of Colorado Proceeding.

            5.          The Debtor has obtained authority to employ Springer & Steinberg PC to

                        represent it in the U.S. District Court for the District of Colorado Proceeding.

            6.          The Debtor filed a Motion for Relief From the Automatic Stay to allow the

                        U.S. District Court for the District of Colorado Proceeding to proceed, which

                        the Court has granted.

            7.          Secured Creditor 11380 East Smith Rd Investments, LLC filed a Motion for

                        Relief From Stay to allow its foreclosure proceeding to continue and a Motion

                        to Dismiss the Debtor’s Chapter 11 case. The Debtor filed responses to both

                        Motions.

 11380 Smith Rd amended ds                              9
Case:18-10965-TBM Doc#:113 Filed:07/11/18                 Entered:07/11/18 14:28:59 Page10 of 29



             8.          The Debtor and 11380 East Smith Rd Investments, LLC filed a Joint Motion

                         to approve a Stipulated Agreement to settle their disputes. The Court

                         approved the Stipulated Agreement on June 29, 2018.

  D.         PREFERENCE AND/OR FRAUDULENT CONVEYANCE CLAIMS. As of the date

  of this Plan, the Debtor knows of no potential preference (11 U.S.C. §547) and/or

  fraudulent conveyance (11 U.S.C. §548) claims which it would be entitled to assert against

  any entity, or for which it would be economically beneficial to do so. The Debtor may

  continue to investigate such claims and, if appropriate, may commence appropriate legal

  proceedings to pursue such claims. In the event the Debtor commences any such legal

  proceedings and receive an award of damages arising as a result of such legal

  proceedings, the Debtor will utilize such net proceeds to pay allowed Chapter 11

  administrative expenses, allowed unsecured priority claims, or allowed unsecured claims

  as may be appropriate under the Debtor’s Plan.

                                           VI. EFFECTIVE DATE

             The “Effective Date” is defined in the Plan to mean the Closing Date, the date that

  the sale or refinance of the Debtor’s Real Property closes.

       VII. CLASSIFICATION OF CREDITORS’ CLAIMS AND EQUITABLE INTERESTS
         AND IMPAIRMENT OF CREDITORS’ CLAIMS AND EQUITABLE INTERESTS

  A.         CLASSIFICATION OF CREDITORS’ CLAIMS AND EQUITABLE INTERESTS AND

  IMPAIRMENT OF CREDITORS’ CLAIMS AND EQUITABLE INTERESTS.

             (1)         Classification. Pursuant to the requirements of 11 U.S.C. §1123 of the

             Bankruptcy Code, the Debtor has classified the claims of its creditors under its Plan.

             The Debtor has made this classification pursuant to the requirements of the


  11380 Smith Rd amended ds                          10
Case:18-10965-TBM Doc#:113 Filed:07/11/18                   Entered:07/11/18 14:28:59 Page11 of 29



             Bankruptcy Code. Each class of claims which has been established under the Plan

             consists of claims which are substantially similar and with respect to each claim

             contained in each class, the Plan provides for the same treatment for each class or

             interest of each particular class unless the holder of a particular claim or interest

             agrees to a less favorable treatment of its particular claim or interest.

             (2)         Impairment. As required pursuant to 11 U.S.C. §1123 of the Bankruptcy

             Code, the Debtor has identified in its Plan those classes of claimants which are

             impaired under the Plan.

  B.         CREDITOR CLAIMS AND EQUITABLE INTERESTS IN THE Debtor ARE

  CLASSIFIED AND IMPAIRED IN THE PLAN AS FOLLOWS:

             (1)         Class 1 consists of the allowed secured claim of the Adams County Colorado

  Treasurer’s Office secured by a statutory lien on the Debtor’s Real Property. Class 1 is

  impaired under the Plan and can vote on the Plan.

             (2)         Class 2 consists of the allowed secured claim of 11380 East Smith Rd

  Investments, LLC secured by a lien on the Debtor’s Real Property. Class 2 is impaired

  under the Plan and can vote on the Plan.

             (3)         Class 3 consists of the holders of allowed general unsecured claims. Class

  3 is impaired under the Plan and can vote on the Plan.

             (4)         Class 4 consists of the holder of an equitable interest in the Debtor. Class

  4 is not impaired under the Plan and cannot vote on the Plan.

         VIII. TREATMENT OF CLASSES OF CREDITOR CLAIMS AND EQUITABLE
                       INTEREST UNDER THE DEBTOR’S PLAN




  11380 Smith Rd amended ds                           11
Case:18-10965-TBM Doc#:113 Filed:07/11/18                  Entered:07/11/18 14:28:59 Page12 of 29



             Provision for payment or treatment of creditor classes and equitable interest under

  the Plan is set forth below.

             (1)         Class 1. Adams County Colorado Treasurer’s Office. The Class 1 creditor’s

  claim is impaired under the Plan. The holder of an allowed secured claim in Class 1 shall

  be paid the allowed amount of its secured claim plus appropriate statutory interest from the

  Net Proceeds from the sale or refinance of the Debtor’s Real Property on the Effective

  Date. The Class 1 creditor is owed $56,752.00 plus accrued interest. The holder of the

  allowed secured claim in Class 1 shall retain its lien(s) to the same extent and in the same

  priority as its pre-petition lien(s) pending payment in full of its allowed secured claims. To

  the extent that the secured claim of the Class 1 creditor is not paid in full, such unpaid

  amount shall be allowed as an unsecured claim and paid as provided for in Class 3 of the

  Plan. Upon payment in full, the lien(s) of the Class 1 creditor shall be released.

             (2)         Class 2. 11380 East Smith Rd Investments, LLC. The Class 2 creditor’s

  claim is impaired under the Plan. The holder of the allowed secured claim in Class 2 will

  be paid from the Net Proceeds from the sale or refinance of the Debtor’s Real Property on

  the Effective Date pursuant to the terms of the Stipulated Agreement entered into between

  the Debtor and the Class 2 creditor, and approved by the Bankruptcy Court. The Class 2

  creditor has filed a Proof of Claim in the amount of $3,531,638.00. The terms of the

  Stipulated Agreement are incorporated into and are made a part of the Plan. The Stipulated

  Agreement is attached to the Plan as Exhibit “1”. The salient terms of the Stipulated

  Agreement are as follows:




  11380 Smith Rd amended ds                          12
Case:18-10965-TBM Doc#:113 Filed:07/11/18                   Entered:07/11/18 14:28:59 Page13 of 29



                         (1)   The Debtor shall have until January 1, 2019 to obtain a Bankruptcy

                               Court Order approving the sale or refinance of the Debtor’s Real

                               Property;

                         (2)   The Class 2 creditor’s secured claim is allowed in the amount of

                               $3,577,124.83;

                         (3)   The Class 2 creditor’s claim shall accrue interest at the rate of 24%

                               on the principal amount of $3 million from the Petition Date to the

                               earlier of the date of the sale or refinance of the Debtor’s Real

                               Property or January 1, 2019;

                         (4)   Post-Petition fees, costs and charges authorized under the loan

                               agreement will be included in the Class 2 creditor’s claim;

                         (5)   If the Debtor is unable to sell or refinance its Real Property by

                               January 1, 2019, the Class 2 creditor will be allowed to accrue

                               additional interest at the rate of 28% retroactive to the Petition Date;

                               and,

                         (6)   The Class 2 creditor will be granted relief from stay to proceed with

                               its foreclosure action if the Debtor is unable to sell or refinance its

                               Real Property by January 1, 2019.

             The above represents a summary of the terms of the Stipulated Agreement.

  Creditors and parties in interest should review the Stipulated Agreement in its entirety for

  a complete understanding of the settlement between the parties.

             To the extent that any allowed secured claim of the Class 2 creditor is not paid in full,

  such unpaid amount shall be allowed as an unsecured claim and paid as provided for in

  11380 Smith Rd amended ds                           13
Case:18-10965-TBM Doc#:113 Filed:07/11/18                   Entered:07/11/18 14:28:59 Page14 of 29



  Class 3 of the Plan. Upon payment in full, the lien securing the Class 2 claim shall be

  released.

             (3)         Class 3. Unsecured Claims. Class 3 is impaired under the Plan. Class 3

  consists of the Allowed Unsecured Claims of the Debtor’s Unsecured Creditors. The

  allowed unsecured claims of the Class 3 creditors shall be paid in full plus Unsecured

  Interest from the Net Proceeds from the sale or refinance of the Debtor’s Real Property,

  after the Debtor’s creditors with allowed secured claims in Classes 1 and 2 are paid in full.

  Any disputed Unsecured Claims of the Class 3 creditors shall be paid in full with Unsecured

  Interest pursuant to the terms of the Plan when such Disputed Unsecured Claims become

  Allowed Unsecured Claims as a result of a Final Order entered by the Court allowing such

  unsecured claims.

             Class 3 Unsecured Claims include the following:

                         a.     Tim Henzel – $1,200,000.00 (not disputed);

                         b.     Xcel Energy – $718.56 (not disputed); and,

                         c.     Owners Insurance Company – Unknown amount (disputed and

                                contingent).

             (4)         Class 4. Class 4 is not impaired under the Plan. The holder of an equitable

  interest in the Debtor shall retain such interest in the Debtor to the same extent as his pre-

  petition equitable interest in the Debtor. the holder of such equitable interest shall not be

  paid until the holders of allowed administrative expenses, allowed secured claims, and

  allowed unsecured claims are paid in full as provided for in this Plan.

      IX. PAYMENT OF UNCLASSIFIED ALLOWED CHAPTER 11 ADMINISTRATIVE
             EXPENSES AND ALLOWED UNSECURED PRIORITY CLAIMS


  11380 Smith Rd amended ds                           14
Case:18-10965-TBM Doc#:113 Filed:07/11/18                     Entered:07/11/18 14:28:59 Page15 of 29



             Payment of allowed Chapter 11 Administrative Expenses and allowed Unsecured

  Priority Claims not classified under the Plan will be paid as follows under the Debtor’s

  proposed Plan:

             Administrative Expenses. Chapter 11 Administrative Expenses are identified as

  follows:

             (a)         Counsel (Weinman & Associates, P.C.) employed to represent the Debtor in

                         the within bankruptcy proceeding;

             (b)         Special Counsel (Brown Dunning Walker, PC) employed to represent the

                         Debtor as special counsel;

             (c)         Special Counsel (Merlin Law Group, P.A.) employed to represent the Debtor

                         as special counsel in the U.S. District Court for the District of Colorado

                         Proceeding;

             (d)         Special Counsel (Springer & Steinberg PC) employed to represent the

                         Debtor as special counsel in the U.S. District Court for the District of

                         Colorado Proceeding;

             (e)         Real Estate Broker (CBRE, Inc.) employed to sell the Debtor’s Real Property;

             (f)         Fees required to be paid to the U.S. Trustee pursuant to 28 U.S.C. §1930;

                         and,

             (g)         Post-petition fees and expenses, including taxes, incurred by the Debtor’s

                         bankruptcy estate in the ordinary operation and management of the Debtor’s

                         business and/or financial affairs.

             The holders of an allowed expenses in Paragraphs (a) through (d) shall submit their

  requests for payment to the Court and the Debtor shall pay such Allowed Chapter 11

  11380 Smith Rd amended ds                            15
Case:18-10965-TBM Doc#:113 Filed:07/11/18               Entered:07/11/18 14:28:59 Page16 of 29



  Administrative Expenses only upon approval by and in the amount allowed by the Court.

  The Debtor believes that it will owe Weinman & Associates, P.C. approximately $15,000

  for attorneys’ fees for services performed through the conclusion of the Chapter 11 case

  after application of the retainer. The Debtor believes that it will owe Brown Dunning

  Walker, PC approximately $15,000 for attorneys fees for services performed through the

  conclusion of the Chapter 11 case. The Debtor believes that it will owe Merlin Law Group,

  P.A. approximately $0 for attorneys fees for services performed through the conclusion of

  the Chapter 11 case. This representation is on a contingency basis. The Debtor believes

  that it will owe Springer & Steinberg PC approximately $0 for attorneys fees for services

  performed through the conclusion of the Chapter 11 case. This representation is on a

  contingency basis.

             The holders of allowed expenses in Paragraphs (a) through (d) above shall be paid

  the allowed amount of their Chapter 11 Administrative Expenses on the Effective Date of

  the Plan provided the Court has entered final, non-appealable orders allowing such

  Administrative Expenses or as may be otherwise agreed to by these Administrative

  Claimants and the Debtor. The Debtor anticipates entering into an agreement with its

  attorneys to pay their allowed Chapter 11 expenses over time following confirmation of its

  Plan, if necessary. Weinman & Associates, P.C. is currently holding a balance of $10,917

  in its Coltaf account which it will apply to the balance of its allowed fees and expenses.

             CBRE, Inc. will be paid at the closing of the sale or refinance of the Debtor’s Real

  Property (real estate commission estimated to be approximately $325,000).

             U.S. Trustee fees required to be paid pursuant to 28 U.S.C. §1930 identified in

  Paragraph (f) above shall be timely paid until such time as the within Chapter 11 case is

  11380 Smith Rd amended ds                       16
Case:18-10965-TBM Doc#:113 Filed:07/11/18                    Entered:07/11/18 14:28:59 Page17 of 29



  dismissed, converted or closed by order of the Bankruptcy Court. The Debtor estimates

  that it may owe the U.S. Trustee $13,000 for unpaid quarterly fees calculated based upon

  the disbursements to its administrative claimants, secured, and unsecured creditors with

  allowed claims should the property sell or be refinanced prior to the Debtor’s Chapter 11

  proceeding being closed.

             Fees and other expenses identified in Paragraph (g) above shall be paid pursuant

  to the terms of any agreement and/or in the ordinary course of the Debtor’s business and/or

  financial affairs according to ordinary business terms. Any unpaid post-petition taxes owing

  by the Debtor’s bankruptcy estate will be paid in full on or before the Effective Date of the

  Plan.

             Allowed Unsecured Priority Claims of Taxing Authorities

             Any Allowed Unsecured Priority Claim of any taxing authority will be paid in full to

  such taxing authority with an appropriate rate of interest in monthly payments of principal

  and interest amortized over no longer than 48 months with the first payment of principal

  and interest due on the Effective Date and continuing monthly thereafter until any such

  claim is paid in full. The Debtor knows of no such unsecured priority claim.

                         X. MEANS FOR IMPLEMENTATION OF THE PLAN

             Upon confirmation of the Plan, the Reorganized Debtor will implement its Plan as

  follows:

             (a)         Upon entry of the Confirmation Order, title in the Debtor’s Assets, except as

                         otherwise provided for herein, will be transferred to the Reorganized Debtor.

                         The Debtor appoints Louis Hard to implement the provisions of the

                         Confirmed Plan to pay creditor claims as provided for in the Plan and to

  11380 Smith Rd amended ds                            17
Case:18-10965-TBM Doc#:113 Filed:07/11/18                     Entered:07/11/18 14:28:59 Page18 of 29



                         pursue the Debtor’s legal claims in the U.S. District Court case. Mr. Hard will

                         not be paid for his services.

             (b)         The Debtor will pay the holders of allowed Chapter 11 Administrative

                         Expenses on the Effective Date of the Plan unless otherwise agreed to

                         between these parties and the Debtor.

              (c)        The Reorganized Debtor will pay quarterly fees to the U.S. Trustee as

                         required by the Bankruptcy Code until its case is closed, converted to a

                         Chapter 7 case or dismissed by the Bankruptcy Court.

              (d)        The Debtor will sell its Real Property to fund its Plan.

              (e)        The Debtor will continue to properly insure and maintain its Assets.

              (f)        Objections to Claims:

                         (1)   The Debtor shall object, when appropriate to any administrative

                               expense, secured or unsecured claim; and

                         (2)   The Debtor shall bring any preference or fraudulent conveyance

                               claims as appropriate.

                         (3)   The Debtor will review all Proofs of Claim filed in its case and may or

                               may not object to the allowability of such claims.

                         (4)   The Debtor will pursue its claims against Owners Insurance Company.

              (g)        Payment of Allowed Claims and Administrative Expenses Under the Plan.

                         The Reorganized Debtor shall make payments to creditors and administrative

                         expense claimants as provided for under the terms of the within Plan.

                         Payments under the Plan shall be made by check and shall be mailed to

                         each creditor and/or administrative expense claimant with an allowed claim

  11380 Smith Rd amended ds                              18
Case:18-10965-TBM Doc#:113 Filed:07/11/18                     Entered:07/11/18 14:28:59 Page19 of 29



                         at the address set forth in the Debtor’s Statements and Schedules filed with

                         the Court or as set forth in any Proof of Claim, other pleading or change of

                         address notification, etc. filed with the Court.

              (h)        Unclaimed Distributions. For a period of one year following the date a

                         payment is due under the within Plan, the Reorganized Debtor shall retain in

                         a reserve account for issuance any unclaimed distributions for the benefit of

                         the holders of allowed claims and/or administrative expenses which have

                         failed to claim such distributions. Following the one year period after such

                         distributions are due, the holders of allowed claims or allowed administrative

                         expenses theretofore entitled to such distributions held in such reserve

                         account shall cease to be entitled thereto and thereupon such unclaimed

                         distributions shall become the property of the Debtor.

                        XI. UNEXPIRED EXECUTORY CONTRACTS AND LEASES

             Unexpired Executory Contracts and Leases:

                         (a)     The following unexpired executory contracts and/or leases shall be

                         assumed by the Debtor upon confirmation of the Debtor’s Plan unless

                         previously assumed prior to confirmation of the Plan: None.

                         (b)     All unexpired executory contracts and/or leases of the Debtor neither

                         assumed pursuant to the Plan nor pursuant to an order of the Court prior to

                         confirmation of the Plan shall be deemed to have been rejected upon

                         confirmation of the Plan. These unexpired executory contracts and/or leases

                         are identified as follows: None.



  11380 Smith Rd amended ds                             19
Case:18-10965-TBM Doc#:113 Filed:07/11/18                    Entered:07/11/18 14:28:59 Page20 of 29



                      XII. MISCELLANEOUS PROVISIONS OF THE Debtor’s PLAN

             Procedures for Resolving Contested Matters:

                         (a)   The Reorganized Debtor’s objections to claims shall be filed with the

                               Court and shall be served on the holder of each of the claims to which

                               objections are filed by no later than 180 days after the Effective Date.

                               The Reorganized Debtor shall litigate to judgment, settle or withdraw

                               objections to all such Disputed Claims; and

                         (b)   No payments or distributions shall be made under the Confirmed Plan

                               with respect to all or any portion of a Disputed Claim or Administrative

                               Expense unless and until all objections to such Disputed Claim or

                               Administrative Expense have been determined by Final Order of the

                               Court. Payments and distributions to holders of Disputed Claims or

                               Administrative Expenses under the Confirmed Plan, to the extent such

                               become Allowed Claims or Administrative Expenses, shall be made in

                               accordance with the provisions of this Plan.

  Compromise and Settlement of Claims and/or Disputes: The Reorganized Debtor shall be

  authorized to compromise and settle any claim and/or dispute which it may have against

  any entity or which may have been brought by any entity against the Debtor. Any such

  compromise or settlement shall be subject to approval by the Bankruptcy Court after notice

  and opportunity for hearing as provided for pursuant to Rule 9013 of the Local Rules of

  Bankruptcy Procedure for the United States Bankruptcy Court for the District of Colorado.



  Provisions for Execution and Supervision of the Plan: Retention of Jurisdiction:

  11380 Smith Rd amended ds                            20
Case:18-10965-TBM Doc#:113 Filed:07/11/18                   Entered:07/11/18 14:28:59 Page21 of 29



             The Court shall retain and have exclusive jurisdiction over the Chapter 11 case for

  the following purposes to the extent authorized by the Bankruptcy Code (“Code”):

                         (1)   To determine any and all objections to the allowance of claims;

                         (2)   To determine any and all applications for allowances of compensation

                               and reimbursement of expenses and any other fees and expenses

                               authorized to be paid or reimbursed under the Code or the Plan;

                         (3)   To determine any applications pending on the Effective Date for the

                               rejection or assumption of executory contracts or unexpired leases for

                               the assumption and assignment, as the case may be, of those

                               executory contracts or unexpired leases to which the Debtor is a part

                               or with respect to which the Debtor may be liable, and to hear and

                               determine, and if need be, to liquidate any and all claims arising

                               therefrom;

                         (4)   To determine any and all applications, adversary proceedings and

                               contested or litigated matters that may be pending on the Effective

                               Date;

                         (5)   To consider any modifications of the Plan, remedy any defect or

                               omission or reconcile any inconsistency in any Order of the

                               Bankruptcy Court, including the Confirmation Order;

                         (6)   To determine all controversies, suits and disputes that may arise in

                               connection with or interpretation, enforcement or consummation of the

                               Plan;



  11380 Smith Rd amended ds                           21
Case:18-10965-TBM Doc#:113 Filed:07/11/18                     Entered:07/11/18 14:28:59 Page22 of 29



                         (7)    To consider and act on the compromise and settlement of any claim

                                or cause of action by or against the Debtor’s Estate;

                         (8)    To resolve any pending disputes regarding the Debtor’s interest in its

                                Assets;

                         (9)    To issue orders in aid of execution of the Plan to the extent authorized

                                by 11 U.S.C. §1142 of the Code; and

                         (10)   To determine such other matters as may be set forth in the

                                Confirmation Order or as may arise in connection with the Plan or the

                                Confirmation Order.

             The Plan may be amended by the Debtor and/or the Reorganized Debtor before or

  after the Confirmation Date as provided in 11 U.S.C. §1127 of the Code.

             Payment of Fees Pursuant to 11 U.S.C. §1129(12): All fees required to be paid by

  28 U.S.C. §1930 will be paid as required therein until such time as the within Chapter 11

  case is dismissed, converted or closed by order of the Bankruptcy Court. The Reorganized

  Debtor shall file quarterly post-confirmation reports until the case is closed.

             Modification of Payment Terms: The treatment of any Allowed Claim may be

  modified or reduced at any time after the Confirmation Date upon the consent of the

  creditor whose Allowed Claim treatment is being modified.

             Retention of Liens: Except as may be otherwise provided for in this Plan, creditors

  whose claims are secured by lien(s) against the Debtor’s Assets or otherwise claim an

  interest in such Assets shall retain such liens to the extent of its allowed secured claims

  and in the same priority as its pre-petition liens or, shall retain its interest in such Assets

  to the same extent and in the same priority as its pre-petition interests in such Assets.

  11380 Smith Rd amended ds                            22
Case:18-10965-TBM Doc#:113 Filed:07/11/18               Entered:07/11/18 14:28:59 Page23 of 29



             Discharge of Debtor: Upon the entry of a discharge of the Debtor, all creditors and

  holders of interests shall be precluded from asserting against the Debtor and its Assets,

  any other or future claim or interest based on any act or omission, transaction or other

  activity of any kind that occurred prior to the Effective Date.

             Debtor’s Assets: Except as provided for in the Plan or in the Confirmation Order,

  upon Confirmation of the Plan, the Reorganized Debtor shall be vested with full ownership

  of and dominion over its Assets free and clear of all claims, liens, charges and other

  interests of creditors arising prior to the filing of the bankruptcy petition and except as

  otherwise provided in the Plan. Upon confirmation of the within Plan, the Reorganized

  Debtor may manage its financial affairs free of any restrictions of the Bankruptcy Code, the

  Bankruptcy Court or the United States Trustee except as otherwise provided in the Plan.

             Final Report: The Debtor will file its Final Report and seek to obtain a Final Decree

  administratively closing its Chapter 11 proceeding no later than 180 days after entry of the

  Confirmation Order unless not otherwise able to do so. The Reorganized Debtor will make

  quarterly post-confirmation reports to the Court and the U.S. Trustee until such time as the

  Final Decree is entered by the Court.

             Default: In the event of a default by the Reorganized Debtor with respect to

  payments to creditors under its Plan, such creditors shall be entitled to take action to collect

  the full amount of their debt as provided for in the Confirmed Plan with whatever collection

  remedies it normally would have available when payments to such creditors are not made

  as scheduled were this case not in bankruptcy. The creditors shall give the Reorganized

  Debtor written notice of any default and the Reorganized Debtor shall have ten (10)



  11380 Smith Rd amended ds                       23
Case:18-10965-TBM Doc#:113 Filed:07/11/18                      Entered:07/11/18 14:28:59 Page24 of 29



  calendar days to cure such default. Any failure to act on any default or acceptance of late

  payments will not act as a waiver by the creditor to act on further defaults.

                                              XIII. RISK FACTORS

             Several factors could adversely affect the Debtor following confirmation which in turn

  could impact the Debtor’s performance under its Plan. These factors may include the

  following:

             (1)         The Bankruptcy Court may deny confirmation of the proposed Plan.

             (2)         The Debtor’s Real Property may not sell or sell at a price sufficient to fund its

  Plan.

             (3)         The Debtor may not obtain an order authorizing it to sell or refinance its Real

  Property by January 1, 2019. If this occurs, the secured creditor will be granted relief from

  stay to pursue its foreclosure proceeding.

      XIV. EFFECT OF CONFIRMATION OF THE PLAN ON Debtor AND CREDITORS

             The terms of the confirmed Plan will bind the Reorganized Debtor and all of its

  creditors with respect to the re-payment of claims provided for in the Plan whether or not

  the holders of such claims vote to accept the Plan.

        XV. COMPARISON OF PLAN TO LIQUIDATION UNDER CHAPTER 7 OF THE
                             BANKRUPTCY CODE


             The Debtor projects that under its Plan, the Debtor’s general unsecured creditors

  (with allowed unsecured claims) in Class 3 will realize a return of 100% of their allowed

  unsecured claims, with interest. The Debtor estimates that liquidation under Chapter 7 of

  the Bankruptcy Code would result in 100% payment to general unsecured creditors.



  11380 Smith Rd amended ds                             24
Case:18-10965-TBM Doc#:113 Filed:07/11/18              Entered:07/11/18 14:28:59 Page25 of 29



             Under Chapter 7 of the Bankruptcy Code, a trustee would be appointed to liquidate

  Debtor’s Assets. The Debtor believes that all of its secured creditors, which have liens on

  its Real Property, would be paid in full. The Debtor believes that there would be sufficient

  Assets to pay Chapter 7 administrative expenses and allowed Chapter 11 administrative

  expenses as well as unsecured claims in full. However, the Debtor believes that if its case

  is converted to Chapter 7, there would be delay before unsecured creditors would be paid.

  This delay would occur because a Chapter 7 Trustee would be appointed to administer the

  Debtor’s estate. Additionally, the Debtor will object to any conversion of its case.

             The Debtor’s Plan provides for payment in full to unsecured creditors with allowed

  unsecured claims with interest. Unsecured creditors will receive no more on their allowed

  unsecured claims if this case is converted than they will receive under the Debtor’s Plan.

                              XVI. BEST INTEREST OF CREDITORS

             The Bankruptcy Code provides that in order to confirm its Plan of Reorganization,

  the Debtor must satisfy the “best interest of creditors test”. Simply stated, this test requires

  that each holder of an impaired claim or interest must either vote to accept Debtor’s Plan

  or receive what such holder would receive in a hypothetical Chapter 7 liquidation under the

  Bankruptcy Code.

             Debtor’s proposed Plan meets this requirement of the Bankruptcy Code since each

  creditor of the Debtor will receive at least as much, if not more (allowed secured claimants

  projected to receive 100% amount of allowed secured claim with interest, general

  unsecured creditors projected to receive 100% of claims with interest) than they would

  receive in a Chapter 7 liquidation case (where unsecured creditors are projected to receive

  100% on allowed unsecured claims).

  11380 Smith Rd amended ds                      25
Case:18-10965-TBM Doc#:113 Filed:07/11/18   Entered:07/11/18 14:28:59 Page26 of 29




  11380 Smith Rd amended ds           26
Case:18-10965-TBM Doc#:113 Filed:07/11/18             Entered:07/11/18 14:28:59 Page27 of 29



                              XVII. CRAMDOWN UNDER THE PLAN

             If an impaired class does not accept the Plan, the Plan can be “crammed down” or

  forced on such class upon a showing that the Plan is “fair and equitable”. The concept of

  cramdown of Debtor’s Plan is best summarized as follows: If a holder of a secured claim

  objects to confirmation of the Plan, the Plan may be confirmed over such objection if: (1)

  the creditor retains the lien on the collateral to the extent of the value of the collateral and

  (2) the creditor is paid with interest over the life of the Plan the amount of the allowed

  secured claim. If an unsecured creditor objects to the Plan, the Plan may be confirmed

  over that objection if: (1) the unsecured creditor is receiving under the Plan at least what

  it would receive in a Chapter 7 liquidation, and (2) the holders of any claims or interest

  junior to the unsecured creditor (i.e., the equitable interest in the Debtor), will receive

  nothing until unsecured creditors are paid in full. This rule is known as the “absolute priority

  rule” in bankruptcy. It is the opinion of Debtor that with respect to its secured creditors, its

  proposed Plan is fair and equitable since such creditors will retain their security interests

  securing the allowed amount of their claims and will be paid the allowed amount of their

  secured claims with interest over the life of its Plan. With respect to Debtor’s unsecured

  creditors, the Debtor believes that it will meet the fair and equitable test because the Plan

  does not violate the absolute priority rule. The Debtor’s Plan provides that unsecured

  creditors will receive 100% repayment on its allowed unsecured claims plus interest.




  11380 Smith Rd amended ds                     27
Case:18-10965-TBM Doc#:113 Filed:07/11/18             Entered:07/11/18 14:28:59 Page28 of 29



               XVIII. FEDERAL TAX CONSEQUENCES OF THE CONFIRMED PLAN

             The Debtor knows of no adverse federal tax consequences which will occur upon

  confirmation of the Debtor’s Plan. However, creditors should consult with its own tax

  advisor concerning the effect of confirmation of the Plan on its individual circumstances.

                                    XIX. RECOMMENDATION

             The Debtor urges you to complete and sign the enclosed ballot, and vote in favor

  of its Plan before the deadline established by the Court in its Order or Notice which is

  enclosed with the Plan.




  11380 Smith Rd amended ds                     28
Case:18-10965-TBM Doc#:113 Filed:07/11/18    Entered:07/11/18 14:28:59 Page29 of 29



                                       DEBTOR-IN-POSSESSION
                                       11380 SMITH RD LLC


                                       /s/ Louis Hard
                                       Manager/Member



  Respectfully submitted,

  WEINMAN & ASSOCIATES, P.C.



  By: /s/ Jeffrey A. Weinman
          Jeffrey A. Weinman, #7605
          730 17th Street, Suite 240
          Denver, CO 80202-3506
          Telephone: (303) 572-1010
          Facsimile: (303) 572-1011
          jweinman@weinmanpc.com
  Counsel for Debtor-in-Possession
  11380 Smith Rd LLC




  11380 Smith Rd amended ds             29
